IN THE CIRCUIT COURT, LAKE COUNTY ILLINOIS

CERTIFICATE OF MAILING
THIRD PARTY CITATION NOTICE

 

SARINA ERVIN

Judgment Creditor
NCQ. 04D 1943

Vv.

RAYMOND N. ERVIN

Judgment Debtcr

 

Social Security Administration
Citation Respondent

I hereby certify that, within 3 business days of service of the citation and citation notice upon a

person or party other than the judgment debtor, I served upon the judgment debtor the following:

1. Either a copy of the underlying Judgment or a certificate by the clerk of the court entered the

judgment or the attorney for judgment creditor setting forth the amount of the judgment, the

name of that court, and the number of the case,

2. a copy of the citation served upon the third person or party, and

 

 

yo on ' |
pare: 8|13.1301 yuo Povedtor

 

ERIN CARTWRIGHT WEINSTEIN, CLERK OF THE CIRCUIT COURT OF LAKE COUNTY,ILLINOIS

171-18 12/16
IN THE CIRCUIT COURT OF THE NINETEENTH JUDICIAL CIRCUM
LAKE COUNTY, ILLINOIS

SARINA ERVIN,

Petitioner,

)

)

)

VS, } Case No. 04 D 1943
RAYMOND ERVIN, |
Respondent. )

And )

Social Security Administration, )
Third Party Respondent )

CITATION TO DISCOVER ASSETS TO A THIRD PARTY

‘LO! Via Certified Mail (Receipt #7018 2290 0001 0381 1926

Social Security Administration
Attn: General Counsel
Altmeyer Building, Room 611
6401 Security Boulevard
Baltimore, MD 21235

   

YOU ARE REQUIRED to appear and/or file your answer to this Citation on the form enclosed
herewith (or other appropriate answer) on September 3, 2019 at 9:00 am in Courtroom C-306 of the Circuit

Court of Lake County, 18 N. County Street, Waukegan, IHlinois 60085.

A judgment against Raymond Ervin Gudgment debtor) was entered on July 5, 2000 (signed on August 31,
2000) and filed on June 22, 2007 but dated/signed on June 21, 2007, a copy of the Judgment and Enrolling

Order is attached, and $595,163.14 (excluding interest) remains unsatisfied.

YOU ARE PROHIBITED from making or allowing any transfer or other disposition of, or interfering with,
any property not exempt from execution or garnishment belonging to the judgment debtor or to which the
judgment debtor may be entitled or which may be acquired by or become due the judgment debtor until
further order of court or termination of the proceedings. You are not required to withhold the payment of
anv money beyond double the amount of the balance due. If requested, you must produce documents and/or

records containing information concerning the property or income of the Judgement Debtor.

WARNING: IF YOU FAIL TO APPEAR IN COURT AS DIRECTED IN THIS NOTICE, YOU

MAY BE ARRESTED AND BROUGHT BEFORE THE COURT TO ANSWER TO A CHARGE
OF CONTEMPT OF COURT, WHICH MAY BE PUNISHABLE BY IMPRISONMENT IN THE

COUNTY JAIL.

NOTE: Your written answer is sufficient for your appearance unless you received a further order Co
personally appear in court.

mets ee ee ee
roe. oh gins ‘I
r 7 ‘l rece Atel
1 3 rata es aah
.. eS, tile a
Case: 1:20-cv-06006 Document #: 1-47 Filed: 10/08/20 Page 3 of 15 PagelD #:420

CERTIFICATE OF ATTORNEY OR JUDGMENT DEBTOR

Judgment Amount: $5,418.00 (CA) per month Balance due: $595,163.14 (excluding interest)
Date of Judgment/Revival: July 5, 2000 (signed on August 31, 2000) and filed on June 22, 2007 but

dated/signed on June 21, 2007 in Lake County. ) |
Name of Court Entering Judgment: Canada, Ontario Superior Court; registered in Lake County.

 

The undersigned certifies, under penalties provided by law pursuant to 735 ILCS 5/1-109, that the
information contained herein is true and correct.

uc cry Ae Tae eee oe
a = Pa a
ns : ar a
a

& ee -

      

SAAAN eo oi
SSSA YY & Attorney for Petitioner

se NIMET Ey J

%

*
Sera.
iit,

 

 

 

 

 

Beermann, LLP

161 N. Clark Street, Suite 3000
Chicago, IL 60601

P: (312) 621-9600
jsteele@beermannlaw.com
ARDC; 6320477
RIDER TO CITATION TO DISCOVER ASSETS

To: Social Security Administration
Attn: General Counsel
Alumeyer Building, Room 61!
6401 Security Boulevard
Baltimore, MD 21235

You are commanded to produce and bring for examination copies of all books and records
relating to your income or assets, including but not limited to the following:

1, True, correct and complete copies of any and all documents which evidence the current
amount received by Raymond Ervin as and for his monthly Social Security Benefits

payments,

2. A completed copy of the attached Third Party Respondent Answer to Citation
Proceedings.
ee Se eee eee

Case: 1:20-cv-06006 Document #: 1-47 Filed: 10/08/20 Page 5 of 15 PagelD #:422

bw ee wee Ke ee

IN THE CIRCUIT COURT OF THE NINETEENTH JUDICIAL CIRCUIT
LAKE COUNTY, ILLINOIS

04 D 1943

91/3019

Case No.

 

Hearing Date

 

THIRD PARTY RESPONDENT ANSWER TO CITATION PROCEEDINGS

 

 

certifies under penalty of perjury that with regard fo the property of the judgment |

 

Citation Respondent) _ “is we nt -_ } |
debtor, ¥G Citation Respondent files tne following answers to this Citation to Discover Assets and is in possession of the

following property of the Judgment debtor.

Circle one or more of the following and indicate the amount held:

A) Savings Account (Amount withheld) $ 0 vere Eiger

 

B) Checking and/or Now Account (Amount withheld) $
C) Certificate of Deposit (Amount held) $ . : _ _ __

0} Money Market Account (Amount held) $ _ een

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

E) Trust Account (Amount held) $ _ a _
F) Safety Deposit Box $ 7 _ __ .
G) No Accounts _ . a |
H) Adverse Claimant: Name ___ Address on

) Wages, Salary or Commissions 2 . —_—

J} Other Personal Property (Describe) __ _ _ _ _

 

 

 

 

Attach a sheet for any additional information required oy the Citation
Sub-Total __ _

Less right of offset for other loans

 

mee ee — - elt —_-

Less deduction for fees limited by
205 ILCS 5/48.14

 

Total a

 

According to the business records kept by the Citation Respondent, we show the above information to be correct

 

Agent for Citation Respondent
Respondent/Agent:

a

Date

 

 

<n

Fax a Td — : .

| 3 intiff or Judgment Creditor and the Defendant
: | r should be mailed to the Cour, Attorney for Plaint

NOTE: A copy ef ihis Answe a cae Rev, 40/43

 

 

 
Case: 1:20-cv-06006 Document #: 1-47 Filed: 10/08/20 Page 6 of 15 PageID #:423

 

   

 

 

— a ee
: eae
ue ‘ict k ua
aN She ana
Pot

oo
om «Cf Lots
“a.77 08
re ta Oe
a4 1 ret _* :

is : [Ea
“1:
a

 

 

 

 

 

  
 
  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

:
piieacraageaty +
ONTARIO SUPERIOR COURT OEUIUB DIF EguRy | cout rile Number
FAMILY COURT OF JUSTICE AT OTTA
WA Form 25: Order |
woe —, | (General)
at 161 Elgin Street, Ottawaj ON SOUT 38 OM! FO Final
aap tareeens a te DEPOSEALACOY Pes ais eee
ES Oe ona a ENE ER Yor Gea) WE esas
Ce ee PADDIICANS) oa ae ae yep ae eb See
| Sarina Ervin Robie S. Loomer
Justice Jennifer Mackinnon 34 Hammill Court 157 McLeod Street
Nepean, ON | Ottawa, ON
oo | | K2P 026
Judge ; te] - 567-8223 fax 567-8312
Box 206

 

 

 

 

  
     
  

Raymond Ervin
331 Springfield Lane
Buffalo Grove, Hlinois

SA-60064---—~- cece emnnnaseiatssainig netesaimelf ence neeerse cant im —

July 5, 2000

   

 

 

 

-
ory ee ne po as a Seas Ba

 

 

 

 

 

 

 

 

THIS COURT ORDERS THAT: -

 

 

 

 

Custody | )
1. The Applicant, Sarina Ervin, shall have sole custody of the children of the marnage,
namely:
Raymond Ervin, born November 20, 1991
Yakira Ervin, born November 20, 1991 _
Na SE rin BOF 1 hy f 4095 | ; __ x __ _ ; ‘ -
Access

 

g, “All access by the Respondent, Raymond Ervin, shall take place In the city where the
Applicant, Sarina Ervin, resides, at times and places chosen by Sarina Ervin and shall
be supervised and shail be supervised at the expense of the Respondent, Raymond

Ervin.

3, The Respondent, Raymond Ervin, Is prohibited from removing the children from the
munictpality in which the Applicant, Sarina Ervin resides.

Restraining Order }
4. The Respondent , Raymond Ervin, is prohibited from attending within 300 metres of the

residence or place of work of the Applicant, Sarina Ervin, or the schools, daycares or

——-=- ee ee, Mya, led ea i ey aoe) See See -
- . é a
- . .

 

 
Case: 1:20-cv-06006 Document #: 1-47 Filed: 10/08/20 Page 7 of 15 PagelD #:424

 

caregivers of the children.

Police Enforcement

 

 

 

 

 

    
 
 

     
    

 

 

 

 

  
 

 

  
 

 

 

 

  

 

   

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5. The police forces having jurisdiction shall enforce tne terms of this order.
poe seme a “eget tegen ye ets ' anaes a eee eee :
“ogo e dheschiidresor.to Include the children: DD SEP asa pei wie nsen-ohihe=————— ae 3
ees == Ras ondant, The Respondent is prohibited from obtaining any passports documents _
in the names of the children. . =
Chiid Support |
7. Income is imputed to the Respondent of $384,000 per annum. The Respondent, |
Raymond Ervin, shall pay child support to the Applicant, Sarina Ervin, for the children 3
Raymond Ervin, bom November 20, 1991, Yakira Ervin, bom November 20, 19914, and
Nasia Ervin, born July 5, 1995, payable from January 1, 2000 in the amount of
$5,418.00 per month, In accordance with the Tables of the Guldalines.
8, in addition, the Respondent shail pay his percentage share of camps and education
costs of the children, currently belng 100% of those costs, upon production of proof of
. these expenditures by the Applicant. Currently these costs are estimated at $2 000.00
per annum for camps and $3,000.00 for educational expenses. ee:
ep tn cane rer enn ent she pete neem tac ems ena tet jum eeatimeneee =a mera WER ad amen ae
'Q, Amounts of child support paid to the Applicant, Sarina Ervin, by the Raymond | :
Nathaniel Ervin Childcare Trust shall be credited against the Respondent's obligation to
nay child support.
eg ene. metre mrt Te ee eating et pennant Pa SEE eRe on ES
ee enn atacninsnaeaneme “eg OLS EI Suppone ne . : | _ . _ . z
: 40-—— The Respondent, Rayiiond Ervin, shall pay the Applicant, Sarina Ervin, lump sum —
spousal support In the amount of $200,000.00. The Interim spousal support award is

 

terminated as of June 30, 2000,

FRO Enforcement }
41. Unless the support order Is withdrawn from the office of the Director of the Family

Responsibility Office, it shall be enforced by the Director, and amounts owing under the
support order shall be paid to the Director, who shall pay them to the parson to whom

 

 

 

 

 

 

 

they areowed __ ; — ee. 2 __ ET
Life Insurance a io
412. The Respondent shall designate each child as irrevocable beneficiary of $250,000.00 eo

of life insurance insuring the Respondent's life in the form of a policy with Penn Mutual, !

and the proceeds of that pollcy or any replacemeni policy are impressed with a trust in : rs

that amount for each child. [f this.policy (Penn Mutual) no fonger exists or is cancelled
then the Respondent shall obfain replacement Insurance and this provision appiles to

any such other policy. :
143. The Respondent shall designate the Applicant, Sarina Ervin, as irrevocable beneficiary a

of $200,000.00 of Iife insurance insuring his life, In the form of a policy with ROA Life,

the proceeds of that policy to the extent of $200,000 are impressed with a trust for tha

benefit of the Applicant. if this policy () no longer exists or is cancelled then the

ae a = =
ae
. -
4
a

 
Case: 1:20-cv-06006 Document #: 1-47 Filed: 10/08/20 Page 8 of 15 PagelD #:425

a
ae

3

Respondent shall obtain replacement Insurance and this provision applies fo any such
other policy, When the lump sum of $200,000,00 has been paid to the Applicant, she
shall release this insurance provision.

poesia of Net Family Properties - oo a

 

 

—— ae eee -Raymond-Bvin, sh alkpay

 

 

    

 

 

 

1 i i Food : F
4 + ou L baal
tae Ps
m 4 a igpomgt . oo.
7 e avr 1
: a _—_—I = saetwerrr—— — — = = a ee es 5
[ee — Lara rE —_ = ee nF Beeria i i pr.
—— Lied —
ot z
ror = 1 * ’ r 7 - r
: -_ -- ee! bell
= r = rT a- = * = aa i rit Scie . ao Sige
see gr ese onl er ee . ang

 

 

 

7 '
ore. ae ee 2 ease na 1 OE EM ee Ee
ay —rs nese sy MST cay Goi amma bee meteta ote RATE er ae —t- bod "hd F ™ cr cae
eee ee ce ee ey es ee
in — . * sad
4% r ae + nail
rae 14 5 Py aah
re ' me ' - Ce
—s 1 . Tr 5
ae * 1 14:
ee —
caer la qt Pw@wes Pariah pleas hel I ee mre ee oop cke Oh hee la =i
cea 1 ee ee ee es
eet dedi we Bes eee mr ba Se ogy re oe ao Ls
oe ee el = “sy 7
. wt - fit ise eee ee,
foertirm| eo Pe ee ee ee ed -“ Nein aE pe a ame rf’ es eee = Ce ec ae a
pe = ee eS —_—— — -- ie Se — rm
Sy eee i Senet =_— de =
Fla ota 1 ooo bo mao a al,
a4

 

 

 

 

15, The Respondent Raymond Ervin, shall immediately pay the Applicant, Sarina Ervin,
costs as fixed In the amount of $15,000 including disbursement and GST. This is in
addition to amounts already awarded by this court.

Interest =
16, This order bears post-judgerment interest at the rate of T % per annum.

ee ed eee
ee weleeste lUF
—- oe ee |
ee fe ee ee fll, peel ee
cmb ed pee ee ee ee eee ee pe — or a —_
ee pe se ge oe, 1
Pe ge ee

 
 
 

 

signature of judg 9-0F r clark of the court

i

— = _—<£ —e
7” ==

eek Eee
ee ee be pe ee eo et ee
— - --

 

 

 

 

 

  

 

 

 

.o= 7 nr =y

' a a er :
Parly il eres
RE

 

me me re = -

 

See pes meee ee es ee ee ao a =

Se Pe: ae ee os af

see eee

 
rg

jul 08 07 O3:1iPp WOLF & TENNANT [S12] ‘vag-uss4

 

Case: 1:20-cv-06006 Document #: 1-47 Filed: 10/08/20 Page 9 of 15 PagelD #:426

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

98 /ZB

i
Doren alates

 

 

ale, ae a Py ereaa De ee ee ee ee ee ee Oa a ee Tea 1
r - 4 =
pe pe a et do@erat dr . r -
: or ij O
rT ¥ . =
-

Del

 

 

 

  

a

; ’ .
he VE rcement of the Jul ga 2000 order of the Ontario .

 

 

) , f the swott
vented by counsel,the court having heard the testimony ©
a de hae’ the exbibits admitted mfo evidence, heard the arguments

 

(hereinafter teforred to as “he Order,” . Both paities BEINg present aud

 

 

 

 

; : S64 = - ‘ho 1 = ie 7 ea eel ee wa — a Fal ‘ el "1 i # i oy, iS x Se Eile ptt asp yS enna eS ghie emis 1 7
ti a | pee it Cr . : . )
. | ) * "4
"stice-ramiy Court wx case mun “|

 

court or Canadian casé) i Sorat |

the
the time of the entry of fle Divorce Judgment :
* sed anion matter jurisdiction and personal oe y aE of the partie
4 That on November i 1998 an order was entered by Canadian Co

dealing with “interim custody and other relief.

 

GpQEZZHcTE L7:tt

2486/68/40

 

 

 

 

mee Ee eee eee eee = ae

Moe gee ~_ an.
= a - =,
=) et red
aoa L _

1 5 : 1
em a ee i

aa. eee > = ee
- = 13 iy

t

. s wed

 

 

———_— — es

- 8 Diya pe
kh a
+
— ee = _ oo.
. -
ot '
- . oe

 

I a F a
Fa ine .
1 _. ot : 3

a wm i

i me re ee ea

—s

 

 

a en eee ee
Case: 1:20-cv-06006 Document #: 1-47 Filed: 10/08/20 Page 10 of 15 PagelD #:427

Juk oS O07 O3%12p WOLF & TENNANT (912) 739-0393

 

 

 

 

 

 

 

 

4
|

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

it
t.4 é "
vu
-
. i ee el
ma ' Ia ' "
— ————————_——
a Fr k 4 ‘ = ' a5 leew e .
7 a t ee Atala 1 - = a = ee ee ee aa [eel
tee “ pe inal = #948 ACCS Sere aria repeewarcl beret fe Hoe: 2 AS rt z fe : ye 1s reece airtel lat 7 7 ald
i be en ee 4 ee - _ a 4 - ‘ ‘. pte 1 me fee
el iar tel ra - ae a 3 — py Seen ‘oem _ F : op ae ; Se mek: e106 h fu es cee eg ee EF Pia ade ee PT ol thereat ee wh i ed oe i a re 2 Be = - Pee aes | -
oo ee ——= Li oka ek . tee oe Diag) Rm ete Te Le ee ne a see gol cs eel gm ge Pe ee a oe i ll [here en eee oe : k x ee a a emtomes ert A0 hr k r= roe Mt ee ae ul of Y
ere ae 1 1 1 mt —— 1 7 . ¥ = 7 = Fr ' . : = Y r . . = ~
rt tee dee oe het ee ee ee of’ ot amyl a be Beth yt ee aa i: =. F to. <a I Tae mo . r 4 l yi ave aecik i fae hae aa : amo orad Leeper e mi ak 15 i" ate
Parl wait a — rr] a ep i 4 Wee ‘ ht : | 1 kyo (eae " t*% y= uaelohw or 4 age Eee 1! I aw eee i# Pate et
; 1. rr, = 2, Sea 1 lk 1 or ima Sep ie “ ‘ aon ? __
[a eee |e 4 ‘ _ ao : bia + Se cesta eae poe l twa 4‘ . sed 4 -oh ago ee ' —* : aoe wee : nin F rr ~ i
4 0botuer 4 th 1 aN A ta LE cae aed mt ener oe . 1 i Sele ae a Tr Oo ad : . ‘ ‘ t
te pee ot ams me a ee is "i 1 oF ! - >. ln
eg de “ge _ 1 +* 1
sieht, inten ) “Th - a: r+] d ' ro 4
} a ; At HOLD rVIlL
keer at
™

+

98/EB adVd

   

 

 

 

 

 

1 his cownsel was, at
7000 when, by court order of that date, at paraprap2
counsel’s n qucst “emoved from the record, as the Respondent has not

“ven instructions to his lawyer aud is net present.’ 7
te That the same order provided in paragraph 2 that “Respondent's
pleading’s are struck.”

2 "That the Respondent did not file an appearance OF retain. an attorney to

represent him in the Canadian case since his attomey Was discharged.
January 19" 2000. ts .
9, That paragraph 3 of the order of January 19:

3 ot tO
matter ig set down for summary judgment pursuant
Family Law Rules to a date to be set by the tial co-ordinator.

 

ut ‘ te
10. That at the hearing in the Canadian Court on July > * 2.0.00 Sara Eee .
icp camssenoit tes ffed Aner je al ale ammeter

—_—_— _—
— =e a ee es
rh ee ey ee aa — = —

6 over
That in 1996 and 1997 Mr. Ervin bad income ov
* save ki disability income of $120,000.00 US per yeat

5&6)

. at!

F
el
weep eg ee a oe aes a Il
ee
ql

aking the disability insurance income, (p.7) |
D. Tha Mr, Ervin had injured both arms at different fimes
was contesting a ¢laize for disab

the U.S; (p. 13&14)
E. That at the-time of the hearing Mr. Ervia was doing

  

      

 
  

   

       

l q 5 F

volunteer work for a minister for his wite’s church, was.00t

receiving any income from employment aud was
work, (Dp. 8)

) aly 5 crit } rs.
/ - References are to July 5° 2000 transcript page numbe

th
11. That the Order antered on July 54 9000 imputed iscouse to the

Respondent of $384,000.00 C ant set child support at $5,418.00 © per

th. ;
12, That paragraph 1 of the Order states “Unless the support order is

withdrawn from the office of the Director of the Family Re eer ab
Office, it sttall be enforced by the Director, and armoun nM es i:
support order shall be paid to the Director, who shall pay

persan to whom they aro owed.”

Hi O AONYN GhBEC2ETTE

Soot ee — 1 — om ——l | — egg.
rouge 1 oe ae 1 oe a
bate

1 1 1. - :
al
=e — hls west -_e 21, =: Dwg ce a
1, == ereee ot, be ed ae eis ee de Peree
was
ht 1 +

lity with Social Sscurity 1:

2TIPl

On |

 

!

 

(.

 

I
ee
ee .

and

 

 

J

 

—

 

 

 

ed oe

 

 

a ee ee ee ae

188Z /68/L8

 

 

 

 

 

 

 

 

 

 

 

]— 8 ey — ee

 
Case: 1:20-cv-06006 Document #: 1-47 Filed: 10/08/20 Page 11 of 15 PagelD #:428

Sul QO9 OF QABrilep WOLF & TENNANT - (312) 7939-O38848S

4

 

ee

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

oT: Ban : = rll there.1s rot 7 yeanmpion. pl dhl,
ae or 4
mk k
ee ee ey ee
- ee
Lae nee a

 

 

 

 

 

og free
The Respondent challenges the registration of the Order on fires
vrounds. Fitst that the procechire fullowed by the Canad! 7 Sol |
violated the Respondent’ s due process ngals; Second, he |
was obtained by frand and Third, that Sarina Ervin 25 2of tne prop
party to pursue repistration of the Order.

 

Due Process:

‘oe : ve noboe of he
Respondent claims that since he-did not resale
cenit of July 5°, 2000 the court should decline to enforce the

. Firat,
Canadi nt fails for anumber of reasons
an Oi  E validity te court arders and it 18 the burden

eos =
a

 

a ees ee a ce ee ee el ee a
ee

 

ee —_q a ee eee

of the party objecting to the. court onder to over come that
presumption In

or >
OP-S-f15: ee Dt ee ed ee b
i : - ceeds re kw ite
oie

oe ese ey oe mms F Ia

ee ee

  

 

 

second the Respondent did not show that there was: any irregularity

th
in the Canadian Court's procedure wlien, in the nr oF ner
2000, the Canadian Court set the matter — a
Family Law Rules to a date to be set by the tia! CO rdinator

i at that
niothing that has been presented to the court indjcates that

 

 

 
 

 

 

 

 

9a/Pp8 SdVd

, ae ie 4d -

 

 

 

procedure was.not, in fact, followed, igne it :
. Third, the Respondent's argument that Cees iin the e | “
additional relief also fails because the prior rele eet dane :
ander of Noventber 2%, 1998 was “interim ve natare oe :
thing to indicate that any party had a valid reason fo an :
it wae P ayihing butinterim. Also ther is oe that tiie a :
ware involved in financial discovery yust beter’ me nde that the | :
attorney was discharged which leads the court :
| ac

3

|

|

SAID AONWN GPBEZZEZTE «LT ipt| 4802/66/20

 

ew be om oe eee

 
Case: 1:20-cv-06006 Document #: 1-47 Filed: 10/08/20 Page 12 of 15 PagelD #:429

ne n =
Jul) 08 OF O3¢12p WOLF & TENNANT (giz! 738-0389 | e

 

 

 

 

 

 

ee a ee ig ad gl ee et

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

— 1 rit
. i ¥ [ee 4. rte : ain # . . _ b wean em adda fre
eee as Seer roe i RT ih ' ak an ete 1 two * wv | Ride Fe 1k Tl ik Veber be * ane baa
: 2 = h
oe Ee ecw ee endear a vm Tra Smee se ie fe bei Nee aah ee oe ea eed Cee ee eee ga ese eee ce Soe eke ke he Heme ge ae og Det Pe eee te
eee kad a t qf = + 3 he Le! : f te : .
ma ' ee ee i i ae eevee a
d bs 7 F . : tno —_—, . a i ee as t. F I ane 1 ' : ; :
eS Se ae a ; - _ 7 3 * 1 i 4 ; : ES SE aero We Batic eee ae Bep gt to ashe ‘ hae ie

I l ' a | = ia a 7 oo oL Fk Io# 2ker a oes kote . a | * ee oe  & ; oes Siena -
ee - - s -
. om Top wt wr ok UU aso4 ‘—" o70 ph mE ER ee 1 : = eee i i it z a il : 3 = - a -

* 44 ' ye : = s en a — — laa eerie! aig, are
a 9 7" a i oe, _—— a
F a a oF
Ne _ oo rl . 4 1 . .
oo oeld For ok =O akoted beer” ' d er OF '

 

 

 

 

 

es a4. orn
»
-— ae eee
a

 

 

 

 

The Respondent claims that the Order was the result of fraud
nerpotrated by Sarina Ervin when she testified at the hearing 08 el
5°. 9000, Her statement that the respondent wes able to W : eat
time of hearing is of no great moment It was the opinion of | aie
Ervin to. which the Canadian Court decided to give pao Ne
testirsony regarding the income of $120,000.00 per year m ae
(997- was based upon her belief that Per Dien payments are 10 oe |
This misconception might have been easily rect fied — =
examination. The Respondent chose not to avail — tt mby |
srcatest legal engine over invented for the eS Oe ratified hat
ionoring the Canadian proceeding. Sarina Ervin, in eid hal
Respondent had no eamed income at the time of the hearing

 

 

come to Respondent wher he |

I
|
k

 

 

 

 

 

94 /S@

OV

intar the O
The Respondent maintains that because th
Li which states “Unless fhe support order 18 withdrawn from the

, : ‘fecha. |
office of the Director of the Famaily Responsibility Oi".
be enforced by the Director, and amounts ownlg ntl pay diem to the
support order shall be,paid to the Director, who snail pay me

person to whom they are owed” Sarina Ervin is not entitled to ist

ee Order. First this Court reads paragraph 11 as authority 108 the —

i 2 prohibition
action to collect child. support, uot & promi
eaving aoa Ervin the right to collect the child support. Again

it ig the burden of the Respondent to go forward with his theory. Th

wet that
was no presentation of any Canadian Law to convine the Co

; f
parapraph 11 precluded Sacina Ervin from pursuing registration ©
the Order,

Wherefore itis hereby ORDERED as follows:

 

4

YN O ACNYN GPGEccog be ae 1at /68/2@

ee

 

 

 

=e Ee reer no income other than his disability income since. 1997, Tres YA ee
prior to the hearing. The significant increase 1D child suppo -

from the Canadian Court impuhing in

7» “ee
L

 

SESS eee eee a a a

ea er: l: 2 7
. ‘sor oe
em o - E 7
. ath st om

ge i
Case: 1:20-cv-06006 Document #: 1-47 Filed: 10/08/20 Page 13 of 15 PagelID #:430

1
. . . a = 1 1
ant . i coe ented ce re = ee. 1 ! . a 1
' : ma » Geert eras egret sag ics aie an | reat . ;

a OE eee 1 1.4 lor A is Wee ged ' . “ : ' = ee ere ee oe me ol oy et

7 I a 3 ig tg . ' 7 -: 4
Ce ee | i

'

ca aan 5 |, raga Por F.
oa ne i © Ca een mae
. = - me a tg no -" a oF bom Mase k Sea eas : E ' ‘
= : ne ea toms f F 5 U , Ca emt eee Tt a r
es . me = . atty o 7 t+ saa ~*~ 4
3 . 7 " a lo 8 : : aie iz : k ‘i ad moo 4 1+ kb zi l
F ——--FFeetuanum
. gig TE foie ez moe kd op Oe

(312)

juli O9 O7 039+13p WOLF & TENNANT

 

 

 

   
    

     
 
 

   

 

 

  
  
  

  

 

 

| |
t

 

 

 

 
    
 

 

 

 

  
 

  
 

 

 

 

    
 

 

 

. re
Paw
-"ad
| oeae ana
1 of

 

 

         
 

 

 

 

 

   

  

 
 

 

 

 

 

  

 

 

 

 

4 i
c
, zi
7 4 —
} le
F aa
4
FF .
k
‘ .
=
‘
I
|
1 ' at ! aoe soot '
- 1 1 + | F II . 4 ,
‘ E A “ a '
z 1. «= & * ' ~ oA ee i 2 Se ee ee : 1 . eae
mel = ho aloswa . ‘oo™ ror SRO APRA . ; seh r Pe an ie Sg ae as ee eee et = oF Poroot ba or bopper Boa = # to
: eae coe ‘ rs 1 1 -r 64 ‘oo. afore: | bawe or sdoed =F Tek a oaFiter rT =n ee a 1 4 Ape
of 4 ee es oe | ga ROP ROR Mie pee Ore Ea SR eo ee rbot & eee a r reise ee gee r re er ead al hee ean eae ae er dee eo ee eet Sree nee .
"OF a Me Sees ee ee Det daa al SMR AE D ieee * Ss ste — x ‘aT oy - a ig gee ary pep aaa pig ge ee Sees Benes a Be ye ee gee i pe ee SE eee mote cag ee ee Tee |
' =a Roars ard cet ee eae | Ce ah nn ye BS a *, ve eee r
“1 i re ee ingen aoe eer = ee me et ae ge ee he eee arr wa rel te Sele: Sag ane alk av hated
eg a ee be | eee ee pe Peegiaks ed es ee edd gg 2 Se ene err el tee 1 ee
wee pe ee Fer eee nies eae i Seea Teale ey ne ee oe Ee oe al F ee a Jie eee ee ee ee Sa
: z . 7 ao : — 7, ~ = yp ' ‘el anh ag
a ee ean i — : ei a ne ee el ee 'F ae he eae Samat a 7 HEE ramus bth TILT Ae ra Sra "a a"
om : = cet at awakens ea ~ aries 1 aye ——— Te eee as * ‘| . 4
ge ee a ae ale a ne NN $1 Mane ee oe ro erick a pellet ed Ng ere bed a eae ~T mr lp Pee eae een hla fen lace tine eae teem Tee ee Bae
oo Coen METS: a LE ie ee 1 et LE SEEFE gut af ' WBE oo =a = ee eee ao
eo ee ee ra oi* See ee * = ¥ ms = ————— ee . eee ae eae — ey
eqns aie ae oe Fe en ie alan anes mitre ai! th — nm ena We tie 3 ee ee
aye omer bees mes PRU ee pa 2A a = ok re eee hoya" t = ' er 1g
| paerace belelt BPMs = 7 1 hee he ce eet ee ne ee "7" ; aiwtitacemtioe . fe uh oak ;
k TD a hae ye re ie as q ata'ner Shae Te 1 “as hb aa@e 4 1 : ii ge Mi AE Na Na te
Boe. yp ea ey ee ea a ee a i rl eF F 1 eS : a as
Pe nr — ee che re _ a aay
Ci ae ee —l eer) oe ee Le te 4 = 1 4 aaa walopeertiol mom treft was ce =e a
— — 5 eee [a 4 ie eta cd 1 . ; vetimeae a2 eR FOF 1 aver i SPE a et aa bl sa po gen ne . ree 4
é k petty egies ath owe eeho dee diag ee eS ree i ee | i i) - FE '
x hae per ; ; Sees vee a a ede Sn ee a a Roe 4 see . ' rar tee re a rer Pes nie en 4 1
get F iq 4 < — ee ee -
ame | ee] ee — Perr re
Se k me ge a el ee Se a ago iS {
Tr ¥ TT ¥ " ad
I op tp beth - ' # a nF F Fami
‘ _ hw > ' 7C
4 w j 1
. i
k
t
L
1
I
I i"
I
i ¥ L
+
k
1 =
k dh
ated aut wu Par ‘ + k ;
21” day of June, ! ;
4
i
a
1 4
*
+
‘ t
:
i
La

ee ee
- —_ — - =o oe ae ee ee ee - si —_— es =—— =] 4 Ore rg ee ce ee eet oo be Ss eee wr
; oo
a) tee ee
' wypte po |) ey ee ge a es ee ee ee ey
a ——p—F : ' roca 1” 44
F I wv
eee ee - ee a

 
      

hk -_

 
 
   
  
 

YS ——__
ab Deg eae le ee Freee eg otmebe a

ae cd beret iles paar rere a +

=F _o =
rae) em eee ed pepe pe eee aca Ua) th

   
 

ee ee BB Sete

ee ee ee ld Th pte oh

i sbi’
= = eee noe ee a ee i rapid |

— a

Dae ee ed gg ae pee braze ee
rer—bhiad dodo eee) [ooh eg peg een eae eae ee ning | | A mt at bla
na? — —

eo ee ee ane hel

dele

Dede ewe oe
Re res ee ee =
lia ek’
eee aS ape pe a ee he oe peewee gd ee

ee ee

ak ee
1 Cee wee ee ee ee eh a et pee ee ee i
Foe arr =

rr

a er

gee gla

 

im,

| OPpBeEccb7te
easag@ SaVd SMW OO AONVN

 

ee
pn ke ae 6 HE .

ee eg ee aoe

 

— ee i
+
1

   
   

merirsas Eee

obey ee ad Beep a pe
ee eT merece dig

4117-F AT peg eet eB eR Be ee ee Ped te dee ee ak
17 asi

ye doe 1 ng eee wereqomr tes awel phe panabail Ropar | er eee Pert, Pee ope
tee ee, ee < .

 

 

 

 

=,
—

 

eo,

[oes
= a4

vo a
a a | =

 

me ee *

 

as

LUePl

 

 

 

Poe ee ee ee

L48t/56/L2 |

—

i, a
week ae oe ES

wa

eee = =r

a: 0

-—- 2-1 we

 

a ee 2 ie

ee bbe mae

meeps ee .
"I
1
Case: 1:20-cv-06006 Document #: 1-47 Filed: 10/08/20 Page 14 of 15 PageID #:431

FILED *
8/12/2019 10:04 AM

IN THE CIRCUIT COURT OF THE NINETEENTH JUDICIAL CIRCUIT

 

 

 

 

 

 

 

 

 

 

 

 

 

LAKE COUNTY, ILLINOIS Clerk of the Circuit
SARINA ERVIN : Lake County, |
Judgment Creditor, )
VS. )
)
RAYMOND ERVIN 4 Gen No. 04D 1943
Judgment Debtor. )
19 Judicial Circuit —- 18 N County Street, Waukegan, IL 60085
CITATION NOTICE
Judgment Debtor's last known: Judgment Creditor’s Attorney/Judgment Creditor
Name: Raymond Ervin Name: Beermann LLP
Address: 391 Springside Lane Address: 181 N. Clark Street, Suife 3000 _
City, State, Zip; Buffalo Grove, IL 60089 City, State, Zip GMcage. IL 60601

 

Judgment in the amount of $ 595,163.14 (excludes interest)
Name of the person receiving Citation; Social Security Administration

Next Court Date: September 3 20 19 at 9:00 | AM CJ PM Courtroom: 808

 

 

 

 

 

NOTICE: The court has issued a citation against the person named above. The citation directs that person to appear in
court to be examined for the purpose of allowing the judgment creditor to discover income and assets belonging to the
Judgment debtor or in which the Judgment debtor has an interest. The citation was issued on the basis of a judgment
against judgment debtor in favor of the judgment creditor in the amount stated above. On or after the court date shown
above, the court may compel the application of any discovered income or assets toward payment on the juagment.

 

The amount of income or assets that may be applied toward the judgment is limited by federal law and llinois law. THE
JUDGMENT DEBTOR HAS THE RIGHT TO ASSERT STATUTORY EXEMPTIONS AGAINST CERTAIN INCOME AND
ASSETS OF THE JUDGMENT DEBTOR WHICH MAY NOT BE USED TO SATISFY THE JUDGMENT IN THE AMOUNT

STATED ABOVE:

 

 

(4) Under the Illinois or federal law, the exemptions of personal property owned by the debtor include the debtor's
equity interest, not to exceed $4,000 in value, in any personal property as chosen by the debtor, Sociai Security
and SSI benefits; public assistance benefits; unemployment compensation benefits; workers compensation
henefits: veteran's benefits; circuit breakers property tax relief benefits, the debtors equity interest, not fo
exceed $2,400 in value, in any one motor vehicle; and the debtor's equity interest, not to exceed $1,500 in value,
in any implements, professiona! books, or tools of the trade of the debtor.

(2) Under Illinois law, every person is entitled to an estate in homestead, when it is owned and occupied as a
residence, to the extent in value of $15,000, which homestead is exempt from judgment

(3) Under Illinois law, the amount of wages that may be applied toward a judgment Is limited to the lesser of {t) 17 5%
of gross weekly wages or (ii) the amount by which disposabie earnings for a week exceeds the total! of 45 times

the federal minimum hourly wage.

(4) Under federal law. the amount of wages that may be applied toward a judgment is limited to the lesser of (i) 25%
of disposable earnings for a week or (ii) the amount by which disposable earnings for a week exceed 30 times the

federal minimum hourly wage.

(5) Pension and retirement benefits and refunds may be claimed as exempt under Illinois law.

The judgment debtor may have other possible exemptions under the law.

THE JUDGMENT DEBTOR HAS THE RIGHT AT THE CITATION HEARING TO DECLARE EXEMPT CERTAIN
INCOME OR ASSETS OR BOTH. The judgment debtor also has the right to seek a declaration at an earlier date,
by notifying the clerk in writing at the office of the Clerk of the Circuit Court, 18 N. County Street, Waukegan,
Hlinois, 60085. When so notified the Clerk of the Circuit Court will provide a hearing date and the necessary
forms that must be prepared by judgment debtor or the attorney for the judgment debtor and sent to the
judgment creditor's attorney regarding the time and location of the hearing. This Notice may be sent by regular

first class mail.
171-234 (Rev. 12/17)

ERIN CARTWRIGHT WEINSTEIN:

Court
Hinois
Case: 1:20-cv-06006 Document #: 1-47 Filed: 10/08/20 Page 15 of 15 PageID #:432

BEERMANN

~ LLP —~
EST. 1958

 

 

Mr. Raymond Ervin
331 Springside Lane

Buffalo Grove, Illinois 60089

Pe 4 is + cif eng bose Frey

PHAM Melbepepbp hie fg peylyll]e
